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CEDRIC ARNETT, et al.,
Plaintiffs, Case No. 01-2149 D AN
VS.
DOMINO’S PIZZA, L.L.C., d/b/a
DOMINO’S PIZZA and
DOMINO’S PIZZA INC., db/a
DOMINO’S PIZZA,

Defendants.

 

ORDER OF REFERENCE

 

Before the court is Plaintiffs’ Motion to Extend All Deadlines and to Join in Domino’s Pizza,
L.L.C’s Emergency Motion to Set Rule 16(b) Scheduling Conference filed on March 24, 2005, in
this case.

This matter is hereby referred to the United Statcs Magistrate Judge for a Determination, and
to conduct a scheduling conference Any exceptions to the Magistrate Judge’s order shall be made

by motion Within ten (10) days of the order. Further, all exceptions shall be stated with particularity

IT ls so oRDERED this M/ day O@m 4 2005.

ICE B. iioNALD
UNI El) STATES DISTRICT JUDGE

 
  

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 65 in
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April 28, 2005 to the parties listed.

 

Kathleen L. CaldWell

LAW OFFICE OF KATHLEEN L. CALDWELL

2080 Peabody Ave.
l\/lemphis7 TN 3 8104

Gregory D. Cotton
COTTON LAW FIRM
6263 Poplar Avenue
Ste. 1032

l\/lemphis7 TN 38119

Jonathan C. Hancock
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

James W. Hodges
HODGES & HODGES
5100 Poplar Avenue
Ste. 6 1 0

l\/lemphis7 TN 38137

James W. Hodges
HODGES & HODGES
5100 Poplar Avenue
Ste. 6 1 0

l\/lemphis7 TN 38137

.l im N. Raines

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

